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			Home » Hawaii Appellate Court Opinions and Orders » Opinions 
		
					
	 Important Information
Oahu District Court Zoom Toll-free Numbers Down Aug. 17-20&nbsp;Go here to learn more	


	
		

					Opinions			 
			
			For 2009 and older, Case Number link will display content as an html page. PDF link will display a scanned image with file date stamp and judicial signatures. Beginning in 2010, Case Number link will display a scanned image with file date stamp and judicial signatures. ADA link will display an accessible file compatible with online reader devices. Click here to view Opinions and Orders from 1998 to 2009.
						
			
						
				
				
				
			
    		
				
					
						
							Date
							Ct.
							Case Number
							Case Name
							Appealed From
							Reporter Citation
						
					
					
												
							August 17, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re Individuals in Custody of the State of Hawai‘i (Amended Order Re: Petty Misdemeanor and&nbsp; Misdemeanor Defendants).&nbsp; Petition for Writ of Mandamus, filed 08/12/2020. &nbsp;S.Ct. Order, filed 08/13/2020 [ada].&nbsp; S.Ct. Interim Order, filed 08/14/2020 [ada].&nbsp; Dissent, filed 08/15/2020.&nbsp; Amended Dissent, filed 08/17/2020 [ada].&nbsp; S.Ct. Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/16/2020 [ada].&nbsp; S.Ct. Order Re: Felony Defendants, filed 08/17/2020 [ada].

							Original Proceeding
							
						
												
							August 17, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re Individuals in Custody of the State of Hawai‘i (Order Re: Felony Defendants).&nbsp; &nbsp;S.Ct. Order, filed 08/13/2020 [ada].&nbsp; S.Ct. Interim Order, filed 08/14/2020 [ada].&nbsp; Dissent, filed 08/15/2020.&nbsp; Amended Dissent, filed 08/17/2020 [ada].&nbsp; S.Ct. Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/16/2020.&nbsp; S.Ct. Order Re: Felony Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Petty Misdemeanor and&nbsp; Misdemeanor Defendants, filed 08/17/2020 [ada].

							Original Proceeding
							
						
												
							August 16, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re Individuals in Custody of the State of Hawai‘i (Order Re: Petty Misdemeanor and Misdemeanor Defendants).&nbsp; Concurring and Dissenting Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; &nbsp;S.Ct. Order, filed 08/13/2020 [ada].&nbsp; S.Ct. Interim Order, filed 08/14/2020 [ada].&nbsp; Dissent, filed 08/15/2020.&nbsp; Amended Dissent, filed 08/17/2020 [ada].&nbsp; S.Ct. Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/16/2020.&nbsp; S.Ct. Order Re: Felony Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Petty Misdemeanor and&nbsp; Misdemeanor Defendants, filed 08/17/2020 [ada].

							Original Proceeding
							
						
												
							August 14, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re Individuals in Custody of the State of Hawai‘i (Interim Order).&nbsp; Dissent, filed 08/15/2020.&nbsp; Amended Dissent, filed 08/17/2020 [ada].&nbsp; &nbsp;S.Ct. Order, filed 08/13/2020 [ada].&nbsp; S.Ct. Interim Order, filed 08/14/2020 [ada].&nbsp; Dissent, filed 08/15/2020.&nbsp; Amended Dissent, filed 08/17/2020 [ada].&nbsp; S.Ct. Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/16/2020.&nbsp; S.Ct. Order Re: Felony Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Petty Misdemeanor and&nbsp; Misdemeanor Defendants, filed 08/17/2020 [ada].

							Original Proceeding
							
						
												
							August 13, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re Individuals in Custody of the State of Hawai‘i (Order).&nbsp; Petition for Writ of Mandamus, filed 08/12/2020.&nbsp; &nbsp;S.Ct. Order, filed 08/13/2020 [ada].&nbsp; S.Ct. Interim Order, filed 08/14/2020 [ada].&nbsp; Dissent, filed 08/15/2020.&nbsp; Amended Dissent, filed 08/17/2020 [ada].&nbsp; S.Ct. Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/16/2020.&nbsp; S.Ct. Order Re: Felony Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Petty Misdemeanor and&nbsp; Misdemeanor Defendants, filed 08/17/2020 [ada].

							Original Proceeding
							
						
												
							August 13, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Keanaaina (Order Accepting Application for Writ of Certiorari).&nbsp; ICA mem.op., filed 04/13/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 07/01/2020.&nbsp;

							Circuit Court, 3rd Circuit
							
						
												
							August 13, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							LO v. NO (s.d.o., affirmed).

							Family Court, 1st Circuit
							
						
												
							August 12, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							U.S. Bank National Association v. Paul (Order Granting July 31, 2020 Motion to Dismiss Appeal).

							Circuit Court, 5th Circuit
							
						
												
							August 11, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Ally Bank v. Hochroth (Order Approving Stipulation for Dismissal of Appeals).&nbsp; Consolidated With Case No. CAAP-XX-XXXXXXX.

							Circuit Court, 1st Circuit
							
						
												
							August 10, 2020
							S.Ct
							SCAD-XX-XXXXXXX [ADA]
							In re: Garbett (Order).

							Original Proceeding
							
						
												
							August 10, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Homestreet Bank v. Caba (Order Granting July 13, 2020 Motion to Dismiss Appeal).

							Circuit Court, 2nd Circuit
							
						
												
							August 7, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Gomes (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							District Court, 5th Circuit, Lihu‘e Division
							
						
												
							August 7, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Safadago (Order Approving Stipulation to Dismiss Cross-Appeal).

							Circuit Court, 5th Circuit
							
						
												
							August 7, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Gomes (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							District Court, 5th Circuit, Lihu‘e Division
							
						
												
							August 7, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Gomes (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							District Court, 5th Circuit, Lihu‘e Division
							
						
												
							August 7, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Alexander &amp; Baldwin , LLC v. Armitage (Order Accepting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 03/12/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 06/15/2020.

							Circuit Court, 2nd Circuit
							
						
												
							August 7, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							In re The Arbitration Between United Public Workers and City and County of Honolulu (s.d.o., affirmed).

							Circuit Court, 1st Circuit
							
						
												
							August 6, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Vicente v. Hilo Medical Investors, Ltd. (Order Rejecting Application for Writ of Certiorari).&nbsp; ICA Order Dismissing Appeal for Lack of Appellate Jurisdiction, filed 06/03/2020 [ada].&nbsp; Motion for Reconsideration, filed 06/10/2020.&nbsp; ICA Order Denying June 10, 2020 Motion for Reconsideration of June 3, 2020 Order Dismissing Appeal for Lack of Appellate Jurisdiction, filed 06/17/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 06/25/2020.

							Labor and Industrial Relations Appeals Board
							
						
												
							August 5, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							In re LI and HDK (Order Accepting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 04/06/2020 [ada].

							Family Court, 2nd Circuit
							
						
												
							August 3, 2020
							S.Ct
							SCAD-XX-XXXXXXX [ADA]
							In re: Dunn (Order).

							Original Proceeding
							
						
												
							August 3, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Long (Order Rejecting Application for Writ of Certiorari). ICA mem. op., filed 02/28/2020. ICA Amended mem. op, filed 03/04/2020 [ada]. Application for Writ of Certiorari, filed 06/22/2020.

							Circuit Court, 1st Circuit
							
						
												
							August 3, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Driscoll v. Bank of America, N.A. (Order Rejecting Application for Writ of Certiorari and Denying Request for a Writ of Mandamus).&nbsp; ICA Order Dismissing Appeal for Lack of Appellate Jurisdiction, filed 05/04/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 06/03/2020.

							Circuit Court, 2nd Circuit
							
						
												
							August 3, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Driscoll v. Bank of America, N.A. (Order Rejecting Application for Writ of Certiorari and Denying Request for a Writ of Mandamus).&nbsp; ICA Order Dismissing Appeal for Lack of Appellate Jurisdiction, filed 05/04/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 06/03/2020.

							Circuit Court, 2nd Circuit
							
						
												
							July 31, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Kwong (Order Dismissing Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 06/25/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 07/23/2020.&nbsp; Application for Writ of Certiorari, filed 07/31/2020.

							District Court, 1st Circuit, Honolulu Division
							
						
												
							July 31, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Ganigan (Order Approving Stipulation for Dismissal of Appeal).

							Circuit Court, 3rd Circuit
							
						
												
							July 31, 2020
							S.Ct
							SCPR-XX-XXXXXXX [ADA]
							In re Parsons (Order Granting Petition to Resign and Surrender License).

							Original Proceeding
							
						
												
							July 31, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							NB v. GT (mem. op., affirmed).

							Family Court, 3rd Circuit
							
						
												
							July 29, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Araiza v. State (Order Accepting Application for Writ of Certiorari).&nbsp; ICA mem. op., filed 02/27/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 06/24/2020.

							Circuit Court, 2nd Circuit
							
						
												
							July 29, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							ATC Makena N Golf LLC v. Kaiama (Order Granting July 21, 2020 Motion to Dismiss Appelate Court Case Number CAAP-XX-XXXXXXX For Lack of Appellate Jurisdiction).

							Circuit Court, 2nd Circuit
							
						
												
							July 28, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Bank of New York Mellon v. Pattison (Order Approving the July 20, 2020 Stipulation to Dismiss Appeal With Prejudice).

							Circuit Court, 3rd Circuit
							
						
												
							July 28, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Nuezca v. State (s.d.o., affirmed).

							Circuit Court, 2nd Circuit
							
						
												
							July 28, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Bertelmann v. Nakamoto (Order Denying Petition for Writ of Mandamus and Dismissing Motion for Sanctions).&nbsp; Petition for Writ of Mandamus, filed 07/09/2020.

							Original Proceeding
							
						
												
							July 28, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							In re LC1 and LC2 (s.d.o., vacated and remanded).&nbsp; Consolidated with Case No. CAAP-XX-XXXXXXX.

							Family Court, 1st Circuit
							
						
												
							July 24, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Langdon.

							District Court, 1st Circuit, Honolulu Division
							
						
												
							July 24, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Kuranishi (s.d.o., affirmed).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							July 23, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							MD v. PR (Order Rejecting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 02/24/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 06/23/2020.

							Family Court, 1st Circuit
							
						
												
							July 22, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Ishimine (Order Accepting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 02/27/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 06/08/2020.&nbsp; Petitioner Ishimine’s Application for Writ of Certiorari, filed 06/09/2020.&nbsp;

							Circuit Court, 2nd Circuit
							
						
												
							July 22, 2020
							S.Ct
							SCMF-XX-XXXXXXX [ADA]
							In re September 2020 Bar Exam (Order Regarding the September 2020 Bar Exam in Light of COVID-19).&nbsp; Concurrence [ada].

							
							
						
												
							July 22, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							United Public Workers v. Kishimoto (Order Approving in Part Stipulation for Dismissal of Appeal).

							Circuit Court, 1st Circuit
							
						
												
							July 22, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Mata v. Sarabia (Order Approving Stipulation to Dismiss Appeal).

							Circuit Court, 5th Circuit
							
						
												
							July 21, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Jaisingane v. Association of Apartment Owners of the Ala Wai Plaza Skyrise Condominium (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							Circuit Court, 1st Circuit
							
						
												
							July 20, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Sandry v. State (Order Denying “Motion Objecting [to] the Decision and Order Denying Non-Violent Community Custody Petitioner Release”).&nbsp; Concurrence [ada].&nbsp; Petition for Writ of Habeas Corpus, filed 06/01/2020.&nbsp; S.Ct. Order Denying Petition for Writ of Habeas Corpus, filed 06/24/2020 [ada].&nbsp; Concurrence [ada].&nbsp; “Motion Objecting [to] the Decision and Order Denying Non-Violent Community Custody Petitioner Release”, filed 07/10/2020.

							Original Proceeding
							
						
												
							July 20, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Drummondo v. State (Order Denying “Motion Objecting [to] the Decision and Order Denying Non-Violent Community Custody Petitioner Release”).&nbsp; Concurrence [ada].&nbsp; Petition for Writ of Habeas Corpus, filed 06/01/2020.&nbsp; S.Ct. Order Denying Petition for Writ of Habeas Corpus, filed 06/24/2020 [ada].&nbsp; Concurrence [ada].&nbsp; “Motion Objecting [to] the Decision and Order Denying Non-Violent Community Custody Petitioner Release”, filed 07/10/2020.

							Original Proceeding
							
						
												
							July 20, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Denomie v. State (Order Denying “Motion Objecting [to] the Decision and Dismiss Order Denying Non-Violent Community Custody Petitioner Release From Custody Amid the Coronavirus Pandemic”).&nbsp; Concurrence [ada].&nbsp; Petition for Writ of Habeas Corpus, filed 05/27/2020.&nbsp; S.Ct. Order Denying Petition for Writ of Habeas Corpus, filed 06/03/2020 [ada].&nbsp; “Motion Objecting [to] the Decision and Dismiss Order Denying Non-Violent Community Custody Petitioner Release From Custody Amid the Coronavirus Pandemic”, filed 07/10/2020.

							Original Proceeding
							
						
												
							July 20, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							U.S. Bank Trust, N.A. v. Verhagen (s.d.o., vacated and remanded).&nbsp; Motion for Reconsideration, filed 08/07/2020.

							Circuit Court, 2nd Circuit
							
						
												
							July 17, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Foo v. Boner (Order Rejecting Application for Writ of Certiorari).&nbsp; Dissent [ada].&nbsp; ICA mem. op., filed 02/21/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 06/04/2020.

							Circuit Court, 3rd Circuit
							
						
												
							July 17, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Jones (Order Denying Motion for Reconsideration).&nbsp; ICA s.d.o., filed 06/19/2019 [ada], 144 Haw. 429.&nbsp; Application for Writ of Certiorari, filed 09/13/2019.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 11/06/2019 [ada].&nbsp; S.Ct. Opinion, filed 06/30/2020 [ada].&nbsp; Opinion by Recktenwald, C. J., Concurring in Part and Dissenting in Part, in Which Nakayama, J., Joins [ada].&nbsp; Motion for Reconsideration, filed 07/10/2020.

							District Court, 1st Circuit, Honolulu Division
							
						
												
							July 16, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Ferguson (Order Rejecting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 02/28/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 06/01/2020.

							Circuit Court, 3rd Circuit
							
						
												
							July 15, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Grandinetti (Order Denying Motion for Reconsideration).&nbsp; ICA Order Dismissing Appeal for Lack of Appellate Jurisdiction and Dismissing All Pending Motions as Moot, filed 05/20/2020 [ada].&nbsp; Motion for Reconsideration, filed 05/27/2020.&nbsp; Application for Writ of Certiorari, filed 06/03/2020.&nbsp; ICA Order Denying Motion for Reconsideration of May 20, 2020 Order Dismissing Appeal for Lack of Appellate Jurisdiction, filed 06/12/2020 [ada].&nbsp; S.Ct. Order Rejecting Application for Writ of Certiorari, filed 06/25/2020 [ada].&nbsp; Motion for Reconsideration, filed 07/10/2020.

							Circuit Court, 3rd Circuit
							
						
												
							July 14, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Skahan v. Stutts Construction Company (Order Accepting Application for Writ of Certiorari). ICA Order Dismissing the Appeal, filed 03/14/2017 [ada].&nbsp;Appellant’s Motion for Reconsideration of the Order Dismissing the Appeal dated March 14, 2017, filed 03/17/2017.&nbsp;&nbsp;ICA Order Granting the March 17, 2017 Motion for Reconsideration, filed 04/03/2017 [ada].&nbsp;ICA s.d.o., filed 04/01/2020 [ada]. Motion for Reconsideration, filed 04/13/2020. Motion for Reconsideration, filed 04/14/2020. ICA Order Denying the April 13, 2020 Motion for Reconsideration and Dismissing the April 14, 2020 Motion for Reconsideration, filed 04/21/2020 [ada]. Motion for Reconsideration, filed 04/21/2020.&nbsp; ICA Order Denying the April 21, 2020 Motion for Reconsideration, filed 05/01/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 06/01/2020.

							Labor and Industrial Relations Appeals Board
							
						
											
				
			
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